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                          UNITED STATES DISTRICT COURT FOR
                          THE MIDDLE DISTRICT OF OUISIANA

    ALEX A., by and through his guardian, Molly
    Smith; BRIAN B.1; and CHARLES C., by and
    through his guardian, Kenione Rogers,
    individually and on behalf of all others
    similarly situated,
                                                       Civil Action No. 3:22-CV-00573-SDD-RLB
                  Plaintiffs,

    v.

    GOVERNOR JOHN BEL EDWARDS, in his
    official capacity as Governor of Louisiana;
    WILLIAM SOMMERS2, in his official
    capacity as Deputy Secretary of the Office of
    Juvenile Justice, JAMES M. LEBLANC, in his
    official capacity as Secretary of the Louisiana
    Department of Public Safety & Corrections,

                   Defendants.


                                       EXHIBIT 2




1
  On July 14, 2023, pursuant to Rule 25(a)(2) of the Federal Rules of Civil Procedure, Plaintiffs notified
the Court of the death of Brian B. Doc. 162. Plaintiffs leave Brian B. as a Plaintiff until the clerk is
ordered to change the caption.
2
 On November 18, 2022, Gov. Edwards announced the resignation of Dep. Sec. Sommers and the
appointment of Otha “Curtis” Nelson as his replacement.
https://gov.louisiana.gov/index.cfm/newsroom/detail/3892 Because Sommers was sued in his official
capacity, Nelson is automatically substituted as a Defendant. Fed. R. Civ. P. 25(d). Plaintiff leaves
Sommers as a Defendant until the clerk is ordered to change the caption.
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                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA

ALEX A., by and through his guardian, Molly
Smith, individually and on behalf of all others
similarly situated,


                   Plaintiff,

                      v.

GOVERNOR JOHN BEL EDWARDS, in his                   Civil Action No. 3:22-cv-573-SDD-RLB
official capacity as Governor of Louisiana;
WILLIAM SOMMERS, in his official
capacity as Deputy Secretary of the Office of
Juvenile Justice, JAMES M. LEBLANC, in
his official capacity as Secretary of the
Louisiana Department of Public Safety &
Corrections,

                 Defendants.

             This is a typewritten version of the attached handwritten Declaration.

                   SUPPLEMENTAL DECLARATION OF CHARLES C.

      I, [name redacted], hereby declare the following to be true under penalty of perjury:

  1) I am seventeen years old and making this declaration of my own free will. Everything in

      this declaration is true to the best of my personal knowledge. For this lawsuit, I am going

      by the name CHARLES C. “CC” to protect my privacy.

  2) I originally made this declaration in support of Plaintiffs Motion for Class Certification,

      ECF No. 99-3. I affirm these facts are true and set forth in my original declaration and

      would competently testify to those facts if called and sworn as a witness. I make this

      declaration as a supplement to my original declaration.
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3) I am currently in the custody of OJJ related to a juvenile delinquency proceeding. OJJ is

   currently holding me in the former death row building at OJJ’s West Feliciana Campus at

   Angola.

4) Previously, as referenced in my past declaration, I was held at St. Martinsville. I stayed

   there until May 31st, 20223.

5) OJJ first sent me to Angola at June 1st, 2023.

6) I am currently on the Conquer Pod. I have been on C since I first got here. When I first

   got here they locked me in my cell for 3 days. I have seen other kids locked in their cells

   for several days and even up to weeks for minor infractions and incidents with the guards.

   The guards don’t care about us here.

7) My cell is incredibly small and I have no room to move. I can’t drink the water out of the

   faucet because it has a color, tastes bad, and would make me sick. I worry about my

   mental health because I’m forced to be in these cells.

8) The guards here don’t care about me or the kids here. They want me to act out but I

   won’t.

9) The food here is terrible and makes me sick. I usually have to eat food from the

   commissary to feed myself.

10) The educational services do not exist here. They put us in front of a computer all day and

   there is no library. Before I was here, I was close to earning my ITEP. I would like to

   earn my diploma if that was offered here There are no teachers here on my block.

11) I am not receiving my accommodations here even though I have an IEP. I don’t have

   access to my one on one accommodations, extra time, and read out loud because I am

   here.
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   12) We are only let out of our cells an hour or so a day in the yard. The yard is covered with

       barbed wire and a black tarp

   13) Because I am here I am not able to speak to my family. When I was at other facilities, I

       was able to talk on the phone with my mom and 5 sisters throughout the week. Being so

       far away from home makes it too difficult for my family to get here.

   14) Before I came here, staff always threatened me that if I was bad I would be sent here.

   15) I want to get out of here. There are no behavioral programs here. At other facilities, I

       could meet with a counselor and work towards achieving my goals. If those services were

       offered I would want to use them.

   16) Many things are broken or don’t work here. There is no AC Units on the tier and the fans

       often break down. Many of the cells are falling apart and have broken desks.

Executed on the 26th day of June 2023 in Angola, LA.

/s/ Charles C.
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